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            EXHIBIT A
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     12
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
     13
                                     COUNTY OF SAN DIEGO
     14

     15
          TAMERA D. SAUNDERS;                         CASE NO. 37-2019-00050648-CU-PL-NC
     16
                         Plaintiff,                   COMPLAINT FOR DAMAGES
     17
          v.                                          1. NEGLIGENT DESIGN AND FAILURE
     18                                               TOWARN OR INSTRUCT
          WRIGHT MEDICAL TECHNOLOGY, INC.,
     19   A Corporation; and DOES 1-100, Inclusive,   2. STRICT PRODUCTS LIABILITY:
                                                      DEFECTIVE DESIGN
     20                  Defendants.
                                                      3. STRICT PRODUCTS LIABILITY:
     21                                               MANUFACTURING DEFECT

     22                                               4. STRICT PRODUCTS LIABILITY -
                                                      FAILURE TOWARN
     23
                                                      5. NEGLIGENT MISREPRESENTATION
     24
                                                      6. FRAUD BY CONCEALMENT
     25
                                                      7. FRAUDULENT
     26                                               MISREPRESENTATION

     27                                               REQUEST FOR JURY TRIAL

     28

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                                         COMPLAINT FOR DAMAGES
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                                                               NATURE OF ACTION

                    2              1.    This is a complaint for damages associated with metal wear debris, corrosion and

                    3 res~ltant metal ions from a failed Wright Medical Conserve® metal-on-metal hip implant.

                    4              2.     For many years, Defendant has known its hip replacement device - the Wright

                    5 Medical Conserve® Total Hip System ("Conserve® Total Hip System," "Conserve® Device," or

                    6 the "Device") - was prone to fretting and corrosion and had a propensity to fail within a few years

                    7 of implantation despite that hip implant devices typically up to twenty years or more.             The

                    8 articulating pieces (femoral ball and cup) of Defendant Wright's Device are comprised of a cobalt

                    9 and chromium ("CoCr") alloy. As designed, the Device's metal-on-metal components generate

                 10 metal debris, corrosion and metal ions, which cause dangerously elevated blood levels of CoCr

                 11        ions, adverse tissue reactions, pseudotumors, necrosis, bone loss and other adverse medical events

                 12 in patients. As a result of the Device's defects and Wright's tortious acts/omissions, Plaintiff, and

                 13        many other patients who received these Devices endured unnecessary pain and suffering;

                 14 debilitating lack of mobility; and a subsequent surgery to replace the defective Device, giving _rise

                  15 to more pain and suffering, a prolonged recovery time, and an increased risk of complications and

                 16 death from surgery.

                 17                                                   PARTIES

                  18               3.     At all relevant times hereto, Plaintiff Tamera D. Saunders was and is an adult

                 19 resident and citizen of the State of California, within Riverside County.             Plaintiffs surgical

                 20        implant of Defendants' Device causing her injuries was performed at Fallbrook Hospital, 624 E.

                 21        Elder Street, Fallbrook, San Diego County, California, 92028.

                 22                4.     Defendant Wright Medical Technology, Inc. ("Wright" or "Wright Medical") is a

                 23        Delaware corporation, with its principal place of business at 1023 Cherry Road, Memphis, Shelby

                 24 County, Tennessee 38117.According to documents filed with the California Secretary of State,

                 25        Defendant Wright is and has been registered to do business in the State of California since June

                 26        1993, and, at all times relevant hereto, did business in the State of California. Defendant Wright

                 27 may be served with process by serving its registered agent for service, Corporation Service

                 28        Company, doing business in California as CSC-Lawyers Incorporating Service (Cl592199).

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                                                              COMPLAINT FOR DAMAGES
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                   5.      On information and belief, Defendant Wright was, at all relevant times, engaged in

      2 the business of designing, developing, manufacturing, distributing, selling, marketing and/or

      3   introducing into interstate commerce, either directly or indirectly through third parties or related

      4   entities, various prosthetic orthopedic products, including the Conserve® Total Hip System at issue

      5   in this civil action.

      6            6.      Plaintiff is presently ignorant of the true· names and capacities of the individual

      7 and/or entity Defendants sued herein as Does 1 through 100, inclusive, and therefore sue these

      8 Defendants by such fictitious names pursuant to the provisions of California Code of Civil

      9   Procedure section 474. Plaintiff is informed and believes, and upon such information and belief

     10 alleges, that each of the Doe Defendants is legally responsible in some manner for the events and

     11   happenings hereinafter referred to, and caused damages thereby as hereinafter alleged. Plaintiff

     12 will seek leave of the Court to amend this complaint to show the true names and capacities of the

     13 Defendants, and each of them, designated as Does when the same have been ascertained. At all

     14 times relevant to this action, Defendants, including and Does 1 through 100, inclusive, and each of

     15   them, were the alter egos, agents (actual, ostensible and/or apparent), servants, employees and

     16 joint venturers of each other and at all times herein mentioned each and all were acting within the

     17 course, scope and purpose of their respective agency, service, employment and joint venture

     18   relationships.

     19                           STATEMENT OF JURISDICTION AND VENUE

     20            7.      Wright is subject to the Court's personal jurisdiction pursuant to the California

     21   Constitution, Article 6, § 10 and Code of Civil Procedure section 410.10. There is no federal

     22 jurisdiction in this case. All of Plaintiffs claims are brought pursuant to California state law.

     23   There are no federal causes of action and Plaintiff expressly disclaims any federal causes of action.

     24   Plaintiff is domiciled in, and is a citizen of, the state of California. Wright has sufficient minimum

     25   contacts with Tennessee such that exercise of jurisdiction over Wright would not offend traditional

     26   notions of fair play and substantial justice.

     27            8.      Wright is deemed to reside in any judicial district in which it is subject to personal

     28 jurisdiction. As, Wright is subject to personal jurisdiction in California, ai:id a substantial part of

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      1 the events giving rise to this claim, including the design and manufacture of the Device and the

      2 development of marketing and sales strategies, occurred in this judicial district, venue is proper in

      3 this Court.

      4            9.         The private interests of the parties favor the forum offered by the Court because it

      5 provides relative ease of access to sources of proof, will substantially reduce the cost of litigation

      6 for the parties, including, but not limited to, obtaining the att~ndance of witnesses, and will

      7 provide for expeditious and practical litigation.

      8                10.    The public's interest favors the forum offered by this Court because Wright

      9 conducts business in California, and is subject to the laws and regulations of California.

     10 Moreover, the application of foreign law, if necessary, would not present practical or formidable

     11   obstacles.

     12                11.    At all times relevant hereto, Wright advertised, promoted, marketed, sold and/or

     13   distributed the defective Conserve® Total Hip System, including the Conserve® femoral head and

     14 Conserve® acetabular cup, throughout the United States.

     15                12.   · Venue is proper pursuant to Code of Civil Procedure section 395(a) because

     16 Plaintiff's action is for personal injuries arising from Defendants' wrongful acts including

     17 negligence and the injuries were sustained within San Diego County, and pursuant to Code of

     18 Civil Procedure section 395.5 as Plaintiff brings claims sounding in tort against corporate

     19 Defendants within San Diego County, where the incident, injuries and Defendants' liability

     20   occurred.

     21                                             FACTUAL ALLEGATIONS

     22 A.             The Device and Its Regulatory History.

     23                13.    Between approximately 2003 and 2011, Wright marketed and sold several metal-

     24   on-metal ("MoM") hip replacement devices, two of which were the Conserve® Total Hip Device

     25   and the Conserve® Resurfacing Device.

     26                14.    The Conserve® Total Hip Device was developed for use in total hip replacements

     27   and included four metal components: (1) a stem inserted into the patient's femur, (2) a neck that

     28   connects the stem to (3) a BFH metal femoral head (wh~ch Wright called the "BFH" - for "big

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          femoral head" - and the A-Class BFH), and (4) an acetabular shell.

      2            15.       The Conserve® Total Hip Device, like all hip implant products, is regulated by the

      3   Food and Drug Administration ("FDA") as a Class III Medical Device, pursuant to 21

      4   U.S.C. § 360c and 21 C.F.R. § 88 888.3330, Prosthetic Devices.

      5            16.       For Class III devices, the FDA requires compliance with either the Pre-Market

      6   Approval process ("PMA") or the section 51 0(k) substantial equivalence pre-market clearance

      7   process before a manufacturer can market and sell a total hip replacement or hip resurfacing

      8   device in the United States.

      9            17.       On July I, 2002, the FDA gave Wright SI0(k) clearance to market the Metal

     10   Transcend Articulation System (Larger Sizes), which was re-branded the "Conserve" and is

     ll   referred to herein as the Conserve® Total Hip Device.

     12            18.       Several different acetabular shells were developed for use with the Conserve®

     13   Devices, including: the "Thick Shell" (with a 5 mm wall thickness), the "Thin Shell" (with a 3 to

     14   4 mm wall thickness), the "Spiked Shell" (with spikes), and the "HA Shell" (with a hydroxyl

     l5   apatite coating to facilitate bony ingrowth). (K04 l 425 (Thick Shell); K03 l 963 (Spiked Shell);

     16 K042530 (HA Shell); Kl 13322 (Thin Shell)).

     17                19.   Wright obtained FDA 51 0(k) clearance to market the Spiked Shell (in 2003), the
                                                                                             I

     18   HA Shell (in 2004), and the Thick Shell (in 2004). (See id.)

     19            20.       Wright also received FDA 51 0(k) clearance to market the A-Class femoral head in

     20   2005 (KOS 1348).

     21            21.       But, despite that more than 90% of the acetabular shells that Wright marketed and

     22   sold with Conserve®Devices between 2003 and 2011 were Thin Shells, Wright failed to seek FDA

     23   Sl0(k) clearance to market the Thin Shell until November 2011, and did not receive any FDA

     24   clearance to market the Thin Shell until February 2012. (Kl 13322).

     25            22.       By February 2012, Wright had no market for the Conserve® Hip Devices and had,

     26   in fact, stopped marketing the Conserve®Devices in June 201 l.

     27   B.       Wright's History with the Device.

     28            23.       Wright purchased Orthomet, Inc. to obtain a stake in the new and profitable metal-
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          on-metal hip replacement device market. In the early 1990s, after establishing itself in small joint

      2   orthopedics and total knee replacements, Wright decided to move into the hip replacement market.

      3            24.   Wright purchased Orthomet, Inc. in December 1994 because Orthomet was in the

      4   development stages of two MoM hip systems: the Transcend Metal-on-Metal Total Hip System

      5 (which eventually became the Conserve® Total Hip Device) and the Conserve® Resurfacing

      6 Device.

      7            25.   Orthomet hired Dr. Harlan Amstutz, a McKee fellow, a MoM proponent, and the

      8 designer of the Tharies (a previous failed Zimmer resurfacing device), as the lead surgeon

      9   designer for the Conserve® Devices.

     10            26.   As of the mid- l 990s, the majority of the devices available for hip replacement

     11   utilized a press fit metal shell with porous coating and a separate polyethylene liner with a ceramic

     12 or metal head. Although Wright recognized that this construct was seeing good success, Wright

     13   also recognized the substantial potential for a metal-on-metal articulation in hip replacement as an

    · 14 alternative to using polyethylene.

     15            27.   In the late 1990s, Wright hoped to be the only orthopaedic medical device company

     16 to offer a total resurfacing device in the United States, but because the McMinn System was

     17   already on the market in European countries, Wright needed to move quickly to get the Conserve®

     18 Resurfacing Device on the U.S. market.

     19            28.   Wright considered the Conserve® Resurfacing Device as a product that had the

     20   potential to capture a significant market share in the United States.

     21            29.   In July 1993, Al Lippincott from Orthomet prepared a product initiation request for

     22   a metal-on-metal system, recognizing that, Orthomet had an opportunity to establish itself as a

     23   forerunner in orthopedic research with development of a new metal-on-metal hip system and could

     24   gain substantial market share of the hip implant market.

     25            30.   At that time, Orthomet recognized that several companies, including Sulzer,

     26   DePuy, Smith & Nephew, Zimmer, and others were currently re-evaluating metal-on-metal

     27   systems.

     28            31.   In November 1995, Wright Medical employees Al Lippincott and Robert L. Conta,

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      1 then Vice President of Development & Technology, attended a four-day conference, chaired by

      2 Dr. Harlan C. Amstutz, and organized by the Joint Replacement Institute in Los Angeles. There,

      3   industry professionals and experts held a four day MoM summit, open discussion, debate, and

      4 dialogue about metal-on-metal hips, addressing the technology, the clinical significance of wear

      5 debris, implant tribology, The need for changes, the types of studies needed to make sure they

      6 were safe, and similar issues.

      7            32.   Conclusions drawn at the MoM summit included the possibility that MoM is not a

      8 good alternative to polyethylene, and that more needed to be learned and studied regarding the

      9 risks associated with MoM bearing surfaces.

     10            33.   In 1995, prior to marketing the _Conserve® Devices, Wright was notified by leading

     11   surgeons and designers of a number of major MoM risks that demanded further testing, such as:

     12 metal toxicity, inflammation, bone loss, allergic reaction, local tumor formation, systemic effects,

     13   soft tissue necrosis, osteolysis, and blood-borne metal ions.

     14            34.   Yet Wright did not conduct any studies to investigate these known risks prior to

     15   marketing its Conserve® Devices and components, and has never performed any tests related to

     16 most of the "hot-button" issues that forced surgeons to reject metal-on-metal implants in the

     17   1970s.

     18 C. The Conserve Thin Shell Never Received PMA Approval and Was a Regulatory and

     19       Clinical Failure.

     20            35.   In 2000, Wright initiated clinical studies of its Conserve® Plus Hip Resurfacing

     21   device, which was conducted under Investigational Device Exemption ("IDE") 1 G990328.

     22            36.   In September 2003, Wright submitted a Pre-Market Approval (PMA) submission,

     23   #P030042, for its Conserve® Plus Resurfacing Hip System, which utilized a Thick Shell (with a

     24   5mm wall thickness).

     25            37.   Following a January 2004 inspection related to the Conserve® Plus Res4rfacing Hip

     26
          1
          An IDE allows a non-cleared, non-approved medical device to be used as part of a clinical study
     27
        to collect data as to safety and efficacy to support a PMA application or 51 0(k) premarket
     28 notification submission to the FDA.

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          II

      1 System PMA #P030042 and IDE study G990328, Wright was cited for failure to properly monitor
      2 studies and failure to report adverse events.

      3                  38.   Dr. Harlan Amstutz was similarly cited.

      4                  39.   In July,2004, Wright was placed on Integrity Hold for regulatory violations related

      5 to the Conserve® Plus Resurfacing Hip System PMA #P030042 and IDE study G990328.

      6                  40.   Due to the FDA's Integrity Hold, Wright could not submit products for approval

      7 without an independent third party first reviewing its submission. Wright contracted with Phiama

      8 Consulting and Health Policy Associates to conduct a review of device submissions to ensure the

      9 overall quality of Wright's future US regulatory submissions.

     10                  41.   The FDA continued to institute an Integrity Hold for Wright's products for over

     11        three years until September of 2007.

     12                  42.   Wright further sought to add a Thin Shell (with a 3.5mm wall thickness) to its

     13 Resurfacing PMA submission. But the clinical data from Wright's Conserve® Plus Resurfacing

     14 Device's Thin Shell IDE cohort showed such high failures that Wright withdrew the Thin Shell

     15 from its PMA application at least twice between 2003 and November 2011, due to the high failure

     16 rate and lack of follow-up.

     17                  43.   Wright's Conserve® Resurfacing Device IDE clinical study results utilizing the

     18 Thin Shell showed a revision rate - a failure of Conserve® device requiring surgery to replace the

     19 components - of I 8.6% of the patients at 24+ months.

     20                  44.   Nonetheless, and despite its IDE clinical studies demonstrating the Thin Shell's

     21        clinical failure, from 2003 through 2011, Wright marketed the Conserve® Devices utilizing the

     22 Thin Shell-a device never PMA approved and not 510(k) cleared by the FDA until 2012.

     23                  45.   Wright never informed surgeons or patients that its own clinical studies revealed

     24 that the Thin Shell caused an extraordinarily high revision rate of 18.6% at the 24 plus month

     25        period.

     26                  46.   The FDA found Wright had under-reported Thin Shell failures and that the Thin

     27        Shell's revision rate exceeded 33% in Wright's clinical studies.

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      1 D. Wright Obtained Pre-Marketing SlO(k) Clearance For Some - But Not All - Conserve®
      2        Components.

      3            47.   Wright sought FDA clearance to market its Conserve® Total Hip Device through

      4 the 51 0(k) "substantial equivalence" process.

      5            48.   A 51 0(k) notice is a premarket submission in which the manufacturer claims the

      6 submitted device is substantially equivalent to a predicate device that is already on the market.

      7            49.   Wright represented that its first MoM device, the Transcend (later renamed

      8 "Conserve"), was substantially equivalent to the previously marketed McKee-Farrar device.

      9            50.   The McKee-Farrar device, a MoM design first used in 1960, was removed from the

     l 0 market in the 1970s because of problems with osteolysis, inflammation, cystic responses, cyto-

     11   toxic metal ions and tissue reactions necessitating revisions in 50% of the implants, according to

     12 the designer, Dr. George McKee.

     13            51.   Due to the poor clinical results of the McKee-Farrar device, the FDA refused to

     14 allow it as an acceptable predicate design and demanded testing for Wright's Metal Transcend

     15 Articulation System ( 1997) submission (K964627).

     16            52.   The 1997 51 0(k) submission for the Metal Transcend Articulation System

     17 K964627 was never cleared for marketing.

     18            53.   In 2001, Wright obtained 51 0(k) clearance for its modular Metal Transcend

     19 Articulation System, consisting of three components (a sc~ew-fit 7(K004043), metal shell, metal

     20   liner, and metal head) intended for use in total hip arthroplasty.

     21            54.   In 2002, Wright received 51 0(k) clearance to market the mono block Metal

     22 Transcend Articulation System (Larger Sizes) for use in total hip arthroplasty, utilizing a one-

     23   piece (or "monoblock") Thick Shell (with a 5mm wall thickness) and a metal femoral head based

     24 on its purported equivalence to the Metal transcend Articulation System (K004043). (K021349).

     25            ~5.   In August 2005, Wright received FDA clearance to market the A-Class Conserve®

     26 Total Femoral Head (K051348).

     27            56.   As Wright touted its "soon to be approved resurfacing device" to surgeons and

     28   customer, Wright marketing personnel and agents realized that the Conserve® could be sold as a

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      1 total hip process and also had great promise for huge profits as a total hip replacement.

      2   E. Wright Dodged the FDA Through Inappropriate Use of a "Letter to File," In Lieu Of the

      3       510(k) Process, For the Conserve® Thin Shell.

      4                In 2003, Wright introduced its Conserve® Thin Shell (with a 3.5mm wall thickness) to its

      5 Conserve® Devices without notification to FDA or 51 0(k) clearance, let alone PMA.

      6            57.       To' avoid the FDA's premarket approval ("PMA") and 510(k) processes, Wright

      7 used a "Letter to File," an internal Wright decision to market the Thin Shell without notice to

      8 FDA. This regulatory shortcut for the Conserve® Thin Shell was based on the supposed "Minor

      9 Modification" to other substantially similar devices on the market.

     10            58.       Wright marketed the Conserve® Thin Shell for more than eight (8) years without

     11   FDA notice or review, despite substantial clinical evidence collected through its Conserve® Plus

     12 Resurfacing Thin Shell IDE study that the Conserve® Thin Shell had poor outcomes.

     13            59.       Wright later acknowledged that a design change affecting safety and efficacy to a

     14 device is not appropriate for an internal Letter to File.

     15            60.       A wall thickness change from 5mm for the Conserve® Thick Shell to 3.5mm for the

     16 Conserve® Thin Shell is a modification that affects the safety and effectiveness of the Conserve®

     17 Devices, yet Wright did not conduct any clinical testing beyond the failed IDE to evaluate whether

     18 the change from a Thick Shell to a Thin Shell affected safety or efficacy.

     19            61.       Because the change from the 5mm Conserve® Thick Shell to the 3.5mm Conserve®

     20   Thin Shell was significant, and Wright did not account for the risk from this change in its Letter to

     21   File MM03-0004, Wright's decision to utilize a Letter to File in lieu of 510(k) clearance was

     22   incorrect.

     23            62.       Instead of utilizing a unilateral Letter to File, Wright was required to obtain 51 0(k)

     24   clearance to legally market the Conserve® Thin Shell.

     25   F. Wright Belatedly Obtained (Post-Market) SlO(k) Clearance for the Thin Shell.

     26            63.       In September 2011, Wright finally acknowledged that the Thin Shell design

     27   marketed under the February 13, 2003 Letter to File "Minor Modification" presented a new worse

     28   case (thinner shell) and therefore should have been subm.itted to FDA for review under the 51 0(k)

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      1 process before marketing and sale of the Conserve® Thin Shell began in 2003.

      2            64.      As Wright consistently collected information questioning the safety and efficacy of

      3   its Conserve® Devices and their components, it continued to promote the Conserve® Hip Devices

      4   using false and misleading data.

      5            65.      For example, Wright continued to advertise that the Conserve® A-Class Device

      6   generated fewer metal ions even though its own studies suggested the opposite conclusion.

      7 G. Wright Aggressively Marketed the Device as Appropriate for Active Patients.

      8            66.      The Conserve® Hip Device's use of BFH technology and A-Class metal was

      9 marketed to surgeons as capable of increasing range of motion, decreasing dislocation issues,

     10 lower wear, and biocompatibility, all of which were presented as significant benefits for young

     11   and active recipients as well as anyone possessing a high-demand hip.

     12            67.      When Wright marketed the Conserve® Total Hip Device to surgeons, it claimed the

     13   device was ideal for young, very active patients because post-hip-replacement, those patients

     14 could be as active as they wanted to be, with a greater range of motion without dislocation or wear

     15   related concerns.

     16              Wright hired professional tennis player and celebrity Jimmy Connors as a
                   68.
                                                                                     -
     17 spokesperson of Wright to endorse and market the Conserve® Devices. Wright represented that

     18 with his new Conserve® Device, Mr. Connors was back on the tennis court in 6 weeks, a result

     19 that should be expected by patients who were implanted with the Conserve® Devices

     20            69.      In marketing the Conserve® Devices, Wright used marketing materials (websites,

     21   journal ads, brochures, pamphlets, patient testimonials, endorsements, newspaper articles and

     22   other PR) aimed at surgeons· and younger, more active consumers who wanted to return to the

     23   following strenuous physical activities, among others, that Wright advertised:

     24                  a. Surfing;

     25                  b. Yoga

     26                  c. Skiing;

     27                  d. Martial Arts, including competition levels;

     28                  e. Hockey;

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                         f.   Ice Skating;

      2                  g. Motorcycling;

      3                  h. Horseback rides;
      4                  i.   Tennis;

      5                  J. Golf;
      6                  k. Soccer;

      7                  I.   Football;

      8                  m. Mountain climbing;

      9                  n. Running, including marathons and triathlons;

     10                  0.   Hiking;

     11                  p. Biking, including trail riding;

     12                  q. Swimming;

     13                  r.   Racquetball;

     14                  s.   Active military duty;

     15                  t.   Competitive wrestling; and

     16                  u. Kayaking.

     17            70.        Representative ads include:

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                   71.          Wright's marketing of the Conserve® Devices included the following testimonials

      2   from patients and surgeons:

      3                      a. "Before the surgery I couldn't run. I couldn't play soccer. Now, there's no pain in

      4                         the joint at all. Hip replacement gave me my life back."

      5                      b. "Because the procedure allows him to be as aggressive as he wanted to be, there --

      6                          there was no reason for me to tell him to hold back."

      7                      c. "Some patients have been able to pursue more vigorous activities, including martial

      8                         arts, hockey, running marathons, even climbing Mount Kilimanjaro."

      9                      d. "Wright Medical which makes the Conserve® Total hip said the hip replacement

     10                         lasts 25 to 30 years."

     11                      e. "Just six weeks after his [minimally invasive surgical] hip procedure, [Jimmy

     12                         Connors] completed filming for a tennis training DVD."

     13            72.          When Wright marketed the Conserve® Total Hip Device to surgeons, it claimed

     14 that the device was fully biocompatible and that the device had good longevity.

     15            73.          Wright also knew researchers were advising against using metal-on-metal implants

     16   in female patients and its own internal information showed dangerously high revision rates in

     17 women.

     18            74.          Nonetheless, Wright continued to aggressively market its products for use by

     19   women.

     20            75.         · Wright's partners at the Oxford Group (Richie Gill) reported unfavorable findings

     21   on the Conserve® Devices, including a strong suggestion of pseudotumors associated with MoM

     22   wear and recommended that Conserve® Devices not be implanted in women.

     23            76.          Wright also knew researchers were advising against putting the similar DePuy ASR

     24   devices in women, and that its partners in Oxford planned to publish a paper warning against

     25   MoM hip resurfacing in young females.

     26                77.      But Wright continued to market the Conserve® Devices to younger, active lifestyle

     27   women; including younger women engaging in competitive martial arts, ice skating, running, dirt

     28   biking, even those who desired to be "physically aggressive."

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      1 H. Wright Minimized the Known Risk of Elevated Metal Ion Levels.

      2            78.   Wright never provided any information to surgeons regarding what was considered

      3   a dangerous cobalt or chromium ion level for a patient with a MoM Conserve® Device.

      4            79.   Wright never told surgeons about the risks and problems associated with its

      5   Conserve® Total Hip Device, including metallosis.

      6            80.   The biggest concern Wright faced in selling the Conserve® Devices was the issue

      7   of metal ion release, as surgeons' top concern was the metal ions.

      8            81.   Before, during and after Wright designed, developed, manufactured, marketed and

      9   sold its Conserve® Devices, Wright knew of the principles and concerns associated with MoM

     10   devices generating wear debris and releasing toxic cobalt and chromium heavy metal ions.

     11            82.   Despite its knowledge that metal ions associated with MoM hips presented

     12   significant risks, Wright worked to convince surgeons that metal ions were not an issue with the

     13   Conserve® Devices.

     14            83.   Wright was aware as of 1998 that research indicated that at three years post-

     15   implantation, there was as much as a 5X increase in the concentration of chromium in the serum

     16   and 8X increase in the concentration of chromium in the urine for metal-on-metal versus metal-on-

     17   poly hip replacement devices.

     18            84.   No later than 2003, Wright recognized that metallic particulate debris is

     19   approximately an order of magnitude smaller than PE debris, so that even low rates of volumetric

     20   wear could lead to large numbers of particles.

     21            85.   Before, during and since Wright designed, developed, manufactured, marketed and

     22   sold its Conserve® Devices, Wright knew that surgeons were concerned about metal ion release

     23   and its effects on the body.

     24            86.   Before, during and since Wright designed, developed, manufactured, marketed and

     25   sold its Conserve® Devices, Wright knew patients with MoM hip implants exhibited l 0 times

     26   higher concentrations of metal ions compared to patients with MoP hip implants.

     27            87.   Before, during and since Wright designed, developed, manufactured, marketed and

     28   sold its Conserve® Devices, Wright knew that Cobalt and Chromium ions cause metallosis,

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          necrosis, inflammation, bone loss, cup loosening, ALY AL and ps~udotumors.

      2            88.     Before, during and since Wright designed, developed, manufactured, marketed and

      3   sold its Conserve® Devices, Wright knew there were reports that Cobalt and Chromium ions have

      4   toxic effects.

      5            89.     Before, during and since Wright designed, developed, manufactured, marketed and

      6 .sold its Conserve® Devices, Wright had available literature that indicated that combined ion levels

      7   of Cobalt and Chromium of 5 ppb generated immune suppression.

      8            90.     Before, during and since Wright designed, developed, manufactured, marketed and

      9   sold its Conserve® Devices, Wright had literature available that indicated that cobalt and

     10   Chromium ion levels at 7 ppb were considered elevated and indicated that a patient and her

     11   physicians should consider revision.

     12            91.     Before, during and since Wright designed, developed, manufactured, marketed and

     13   sold its Conserve® Devices, Wright did not know how to evaluate the significance of Cobalt and

     14   Chromium metal ion levels.

     15            92.     Before, during and since Wright designed, developed, manufactured, marketed and

     16 sold its Conserve® Devices, Wright did not know what levels of Cobalt and/or Chromium ion

     17   levels would or could cause harm.

     18            93.     Before, during and since Wright designed, developed, manufactured, marketed and

     19   sold its Conserve® Devices, Wright did not know the long term consequences to patients of
      I
     20   exposure to Cobalt and Chromium ions.

     21            94.     Despite the concerns for the effect, danger and damage potentially caused by

     22   Cobalt and Chromium ions, and despite not knowing what ion levels would be safe, acceptable,

     23   injurious or dangerous, Wright undertook no biocompatibility or any other testing to determine

     24   whether metal-ion release from the Conserve® Device was safe.

     25            95.     Before, during and since Wright designed, developed, manufactured, marketed and

     26   sold its Conserve® Devices, Wright never tried to determine what levels of Cobalt or Chrom.ium

     27   are toxic.

     28            96.     Before, during and since Wright designed, developed, manufactured, marketed and

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      1 sold its Conserve® Devices, Wright did no testing to assess the risk of metal ion release or the

      2 effects of metal ion release on the human body.

      3            97.        Before, during and since Wright designed, developed, manufactured, marketed and

      4   sold its Conserve® Devices, Wright conducted no clinical studies to determine or evaluate the

      5   local or systemic effect of Cobalt and Chromium ions.

      6            98.        Before, during and since Wright designed, developed, manufactured, marketed and

      7   sold its Conserve® Devices, Wright never did any testing to determine the risk posed to patients

      8 from exposure to Cobalt and Chromium ions.

      9            99.        Wright recognized that surgeons' biggest concern about the use of metal-on-metal

     10 hip devices was the generation of metal ions. Therefore, Wright had to convince surgeons that

     11   metal ions would not be an issue with the Conserve® Hip Implant.

     12            100.       Minimizing metal ions was a huge concern for Wright in marketing its Conserve®

     13   Devices that it focused extensively on minimizing metal-ion concerns through publications and

     14 speakers.

     15                101.   Wright utilized consulting surgeon Key Opinion Leaders' ("KOL's") presentations

     16 to orthopaedic groups and peer reviewed data, paid-for scientific data publications, celebrity

     17 endorsements, and sales representative training, among other avenues, to falsely assuage metal-ion

     18 concerns and market the Conserve® Device.

     19            102.       Throughout the Conserve® Devices' marketed lifespan, Wright consistently boasted

     20   in its marketing that metal ions from Conserve® Device are harmless.

     21                103.   In fact, Wright's OrthoRecon marketing department disregarded field concerns

     22   over metal ion issues and told surgeons that Wright had no negative reports for metal ion issues.

     23                104.   Wright did not inform surgeons or potential patients of its concerns or lack of

     24   knowledge regarding the release of Cobalt and Chromium ions from Conserve® Total Hip

     25   Implants, despite acknowledging that surgeons and patients were concerned about the issue.

     26                105.   In fact, Wright, as early as 2002, told its sales personnel, who were in direct contact

     27 with surgeons, that, "the effects of metal ion release are known and have been demonstrated to be

     28   safe," which was the equivalent of decriminalizing metal ions.

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      1 I. Wright Studied Metal Ions Solely to Support A-Class Sales~

     ·2            106.       Wright decided to run metal ion studies, not to determine safe levels of metal ions,

      3 but instead to be able to market that its Conserve® Total Hip Device utilizing an A-Class femoral

      4   head (which utilized a "harder" Cobalt and Chromium metal alloy than the standard femoral head)

      5 woµld generate fewer metal ions than Wright's competitor and thus Wright could sell the A-Class

      6 device at a higher price.

      7                107.   Wright aggressively marketed its A-Class metal, which it contended resulted in less

      8 wear, less metal debris and, by implication, fewer metal ions.
      9                108.   Wright utilized taglines such as "Reduced Wear, Increased Longevity," "A-Class

     10 Never Compromise," and "A Hip for Life" in marketing it's a-Class BFH technology with the

     11   Conserve® Total Hip Device.

     12                109.   Wright ignored that its A-Class metal ions studies were a failure, demonstrating

     13   that less wear did not translate into fewer metal ions.

     14            110.       Even Wright's internal metal ion studies conducted by key Conserve® Device

     15   KOLs and surgeon consultants such as Paul Beaule, M.D., Josh Jacobs, M.D., and Koen DeSmet,

     16 M.D. could not prove that the generation of less wear debris correlated with fewer metal ions,

     17 despite Wright's touting this alleged A-Class design advantage.

     18 J. Wright's Representations and Reasonable/Justifiable Reliance.

     19            111.       Wright also told R.C. Pace, M.D. ("Dr. Pace") that the cobalt chromium cup should

     20   last longer than a traditional Metal/Poly liner, and that there were no known issues associated with

     21   cobalt and chromium ions.

     22                112.   Based on Dr. Pace information from Wright about the benefits of the Conserve®

     23   Total Hip Device and no known risks from metal ions, and his recommendation, Plaintiff decided

     24 to proceed with an elective right THR to implant a metal-on-metal Conserve® Total Hip Device,

     25   utilizing'the Thin Shell, and not another type of available hip such as the ceramic/poly.

     26                113.   On February 21, 2005, Dr. Pace implanted a Wright Conserve® system in Plaintiff,

     27   including the following components:           A Wright Conserve® Total A-Class Femoral Head, a

     28   Conserve® Plus Cup (Thin Shell), a Profemur Z Stem and WMT Neck.

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                       114.   On or about September 25, 2017, Plaintiff experienced failure with elevated metal

      2   blood ion levels and increasing pain in Plaintiffs left hip with activity.

      3                115.   On or about September 25, 2017, Plaintiff entered the hospital for right hip revision

      4   surgery due to a failed left total hip arthroplasty.

      5                116.   Intraopera:tively, Mitchell Albert McDowell, D.O. ("Dr. McDowell") noted

      6   elevated cobalt and chromium levels, cystic lesion on the posterior lateral cortext of the femur

      7   contiguous with the joint surface and effusion, caseous soft material inside the joint, extensive

      8 trunnionosis with black material around the trunnion at head and neck junction. An ETO was

      9   performed.

     10                117:   Dr. McDowell indicated that Plaintiff's Conserve® Total Hip Device had failed due

     11   to metallosis, i.e., acute onset of pain, trunnionosis, soft tissue damage, etc.

     12                118.   Since Plaintiffs Conserve® left hip revision surgery, Plaintiff is still restricted in

     13   activities, and had to give up activities such as rigorous exercise and has physical limitations when

     14 walking and bending, and avoids stairs and moderate lifting/dragging.

     15                119.   Dr. Pace and numerous other physicians who previously had Wright consulting

     16 contracts have testified that, had they been aware of the risks back in the early to mid-2000s when

     17 they first started implanting the Conserve® hip replacement Devices, they would not have chosen

     18 those implants.

     19            120.       Presently, Dr. Pace is aware of risks associated with the Conserve® hip implant

     20   such as adverse reaction, metal ions, metallosis, necrotic tissues that he was not aware of at the

     21   time of Plaintiffs implant surgery in February 2005.

     22                121.   If Dr. Pace had known in February 2005 what he knows now about the risks from

     23   metallosis from the Conserve® Total Hip Device, he would not have implanted it in Plaintiff.

     24                122.   Wright marketed that the Conserve® Devices experienced acceptably low failure

     25   rates, despite real revision rates reported via medical device registries and surgeons' actual

     26   revisions demonstrating that the Conserve® Devices had a statistically unacceptably high failure

     27   rate.

     28                123.   Wright has never reported the Conserve® Devices' high failure rates to surgeons, to

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          patients with implanted Conserve® Devices, or to the public.

      2                124.   Wright continued to market the Conserve® Devices even as its own KOLs,

      3 consultants, researchers and surgeons were reporting high failure rates and other problems with the

      4   implant, and even discontinuing use of the Conserve® Devices.

      5                125.   Wright received complaints and reports of unacceptable failure rates of its

      6 Conserve® Devices from Brad Penenberg, M.D., a Wright KOL, consultant, Peer-to-Peer trainer,

      7 premier Los Angeles surgeon and Conserve® Devices royalty recipient, who concluded tbe

      8 Conserve® Device was not a successful product and stopped using them because of problems he

      9 experienced with the Conserve® Devices starting in 2007.

     10                126.   Although Patrick Fisher, Director of Hip Marketing admitted that it was significant

     11   that Wright's most prominent, highest paid consultant thought the Conserve® Device was a failure,

     12 Wright never shared that information with other surgeons or the public.

     13                127.   C. Lowry Barnes, M.D., from Little Rock, Arkansas, a Wright KOL, consultant,

     14 and Peer-to-Peer trainer, complained about the Conserve® Devices and stopped using them.

     15                128.   G. Lynn Rasmussen, M.D., and his partner, Kent Samuelson, M.D., both Wright

     16 KOLs, consultants and high-volume Conserve® Device implant surgeons in Salt Lake City, Utah,

     17 stopped using the Conserve® Devices because of unacceptably high failure rates.

     18                129.   Michael Andersen, M.D., a Wright KOL, product champion, Conserve® Devices

     19   royalty recipient from Germantown, Wisconsin, had problems with the Conserve® Devices that

     20 were known to Wright.

     21                130.   Michael Dunbar, M.D., from Halifax, Nova Scotia, reported a 20% Conserve®

     22 Device failure rate to Wright in March 2008 and discontinued using the Conserve® Devices.

     23                131.   Edward Sparling, from Vancouver, Washington, a high volume Wright surgeon,

     24 KOL, consultant and IDE participant, reported problems with the Conserve® Devices to Wright

     25   and stopped using them in April 2009.

     26                132.   Richard Weiner, M.D., from Palm Beach, Florida, a high-volume Wright surgeon,

     27   reported high Conserve® Device failure rates to Wright, advised Wright that the Conserve®

     28 Devices should never be implanted in women, and stopped using the Conserve® Devices.

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      1            133.       Raymond Corpe, M.D., from Augusta, Georgia, a Wright KOL, consultant and

      2 high-volume Wright implant surgeon, complained to Wright about the Conserve® Devices and

      3 stopped using the Conserve® Devices.

      4            134.       Vincent Fowble, M.D., from Jupiter, Florida, a Wright KOL, consultant and high-

      5 volume Wright implant surgeon, complained to Wright about the Conserve® Devices and stopped

      6   using the Conserve® Devices.

      7            135.       Kace Ezzet, M.D.~ from La Jolla, California, reported high failure rates to Wright

      8 and as a result, stopped using the Conserve® Devices.

      9            136.       Milton Smit, from Bradley, Illinois, a Wright KOL, consultant and high-volume

     10 Wright implant surgeon, complained to Wright about the Conserve® Devices' high failure rates

     11   and stopped using the Conserve® Devices.

     12 K. Wright Ignored and Isolated Complaining Physicians.

     13                137.   Wright created a smokescreen by isolating and blaming surgeons who reported

     14 failures, telling reporting surgeons that no other surgeons around the country were having failures.

     15            138.       When distributor David J. Burke reported an increase in failed Conserve Devices to

     16   Wright, Wright told him that they were not having problems with the device and questioned

     17 whether the surgeons at issue had followed proper surgical protocol.

     18                139.   Wright did not reveal these surgeon complaints and decisions not to use the

     19   Conserve® Devices to other surgeons, Wright's complaint department, Wright sales personnel or

     20   distributors, patients or the public.

     21                140.   Internally, Wright's less-than-robust complaint department continued to receive

     22   complaints from all over the country regarding metal debris, reactions, pseudotumors and aseptic,

     23   lymphocyte-dominated vasculitis-associated lesions ("ALY AL") associated with the Conserve®

     24 Devices.

     25                141.   Wright received registry data that showed increasing failures of the Conserve®

     26   Devices, including: a 2008 Australian Bone & Joint Registry Report of a 16.4% failure rate; a

     27   2009 UK National Joint Registry Report of a 7.4% failure rate; a 2011 UK National Joint Registry

     28 Report of a 8.35% failure rate; and a 2012 UK National Joint Registry Report of an 8.52% failure

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          rate at five years.

      2            142.       In response to an Association of British Healthcare Industries ("ABHI") position

      3 statement. on MoM hip bearings, Wright acknowledged it knew from the start that the clinical

      4   performance of early MoM devices "frequently and matter-of-factly mentioned tissue reactions,

      5 metallosis, and revisions due to pain."

      6                                 PLAINTIFF'S INJURIES AND DAMAGES

      7                                         PLAINTIFF'S Conserve® HIP

      8            143.       On or about February 21, 2005, Pl.aintiff had a Wright Conserve® artificial hip

      9   implanted in her left hip ("Index Surgery") in a procedure known as a total hip arthroplasty (or

     10 "THA").

     11            144.       Orthopedic surgeon R.C. Pace performed the Index Surgery during which he

     12   implanted the Conserve® Total Hip System in Plaintiff Saunders.

     13                145.   Plaintiff Saunders' Index Surgery was performed at Fallbrook Hospital, 624 E.

     14 Elder Street, Fallbrook CA, 92028.

     15                146.   Dr. Pace did not breach any generally accepted standard of care in the field of

     16 orthopedic surgery in his care and treatment of Plaintiff Saunders or negligently cause any injury

     17   to Plaintiff in any of the following respects:

     18                       (a)    in the care or treatment that he provided to Plaintiff Saunders prior to

     19            beginning the hip implant surgery;

     20                       (b)    in the hip implant surgery he performed on Plaintiff Saunders; or

     21                       (c)    in the care or treatment that he provided to Plaintiff Saunders, subsequent to

     22            Plaintiff Saunders's hip implant surgery.

     23                147.   Based upon the patient population that Wright intended its artificial hip devices to

     24 be implanted in, at the time of Plaintiff Saunders's Index Surgery, she was an appropriate patient

     25   to be implanted with the Conserve® Total Hip System.

     26                148.   Dr. Pace recommended the Conserve® Total Hip System to Plaintiff Saunders and

     27   indicated that the Device was appropriate for her.

     28                149.   Plaintiff Saunders reasonably relied upon Dr. Pace in deciding to proceed with hip

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      1 replacement surgery and have the Conserve® Total Hip System implanted.

      2            150.       Before or during the course of Plaintiff Saunders's Index Surgery, Defendant

      3 arranged for the Conserve® Total Hip System that was implanted in Plaintiff Saunders to be

      4 delivered to Fallbrook Hospital and/or Dr. Pace for implantation in Plaintiff Saunders.

      5            151.       Defendant, directly or through its subsidiaries or affiliates, designed, manufactured,

      6 distributed and sold in the United States various prosthetic orthopedic devices, including the

      7 Conserve® Total Hip System implanted in Plaintiff Saunders during the Index Surgery, which

      8 included the following components:

      9            •      Wright Conserve Total Femoral Head
     10                   Ref. No. 3801-4400

     11                   Lot No. 04480855

     12

     13            •      Wright Conserve Plus Cup

     14                   Ref. No. 3802-4450

     15                   Lot No.124125088

     16

     17            •      Wright Neck

     18                   Ref. No. PHAO-1214

     19                   Lot No. U0370550

     20

     21            •      Wright Profemur® Z Stem

     22                   Ref. No. PHA00282

     23                   Lot No. T12134867

     24

     25

     26 These Wright components are hereinafter collectively referred to as the "Conserve® Total Hip

     27   System" or the "Device."

     28                152.   At the Index Surgery, each of the components of Plaintiff Saunders's Conserve®

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          Total Hip System was in substantially the same condition in all relevant respects as when they left

      2   Defendant's control.

      3                153.   At all times relevant hereto, Plaintiff Saunders used the Conserve® Total Hip

      4   System implanted during the Index Surgery in a normal and reasonably foreseeable manner.

      5                154.   On or about September 25, 2017, Plaintiff Saunders reported to Dr. Mitchell Albert

      6   McDowell for revision surgery of her failed hip prosthesis ("Revision Surgery"). Dr. McDowell

      7 recommended the revision surgery after Plaintiff Saunders presented with incre~sed metal blood

      8   ion levels and pain.

      9                155.   Plaintiff Saunders's Revision Surgery was necessary because the Device failed due

     10   to adverse tissue reaction to metal debris, corrosion and resultant metal ions.

     11                156.   The Revision Surgery was performed by Dr. McDowell at Riverside Medical

     12 Center L, 10800 Magnolia Ave, Riverside, CA 92505-3043. During the Revision Surgery, Dr.

     13   McDowell removed failed components of Plaintiff Saunders's Conserve® Total Hip System.

     14            15 7.      But for the fact that the Conserve® Total Hip System had generated metal debris,

     15   metal ions and corroded causing it to fail and injure Plaintiff, Plaintiff Saunders's Device was not

     16   otherwise in need of revision.

     17            15 8.      On or about September 25, 2017, it was discovered that the Device failed due to

     18   metal debris, corrosion and resultant metal ions, due to the metal-on-metal design between the

     19   articulating surfaces, causing continuing and otherwise irreversible physical injury to Plaintiff

     20   Saunders.

     21                159.   On or about September 25, 2017, the Conserve® Total Hip System implanted in

     22   Plaintiff Saunders's left hip was discovered to have failed as a direct and proximate result of the

     23   actions, conduct, negligence, and breach of duties of the Defendant, as alleged in this Complaint.

     24            160.       The Conserve® Total Hip System (and its components), to include the Device

     25   implanted in Plaintiff Saunders was not merchantable, and was unreasonably dangerous for its

     26   intended and/or reasonably foreseeable uses in that:

     27                       (a)    it was and is unreasonably dangerous under California's product liability

     28            law as a result of one or more or a combination of the following:

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      1                                  (i)     the    Conserve®       Total    Hip      Implant     System      was
      2                       manufactured/designed in such a manrier as to generate CoCr metal debris,

      3                       corrosion and resultant CoCr metal ions, thereby increasing the potential for

      4                       failure;

      5                                   (ii)   the components were manufactured/designed in such a way as to

      6                       make the articulating surfaces of the components susceptible to fretting and

      7                       corrosion, thereby increasing the potential for failure; and

      8                                  (iii)   there may be other conditions or defects yet to be determined.

      9                       (b)        it was dangerous to an extent beyond which could be contemplated by the

     10            ordinary consumer with the ordinary knowledge common to the community as to its

     11            characteristics in that:

     12                                  (i)     the ordinary consumer would not contemplate that the Device would

     13                       create metal debris, metal ions and corrosion or that premature revision surgery

     14                       would become necessary less than 12 years after implantation; and

     15                                  (ii)    the ordinary consumer would not contemplate that the ordinary

     16                       activities of daily living would result in the Device releasing harmful metal ions

     17                       and metal debris in the consumer's body that caused adverse tissue reactions and

     18                       other medical complications.

     19            161.       The Device was not tested in design and development under 'conditions that were

     20 known would be encountered in the normal in vivo patient environment over substantial periods of

     21   time.

     22                162.   The Device was not tested in design and development under the normal in vivo

     23   patient environmental conditions that were knowri would be encountered during normal use of the

     24 Device.

     25                163.   The Device was not tested for the FDA Section 51 0(k) Premarket Notification

     26 Process under conditions that were known would be encountered in the normal in vivo patient

     27   environment.

     28                164.   Wright's testing of the Device did not adhere to or meet FDA guidance.

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                       165.   Wright knew the Device was failing from fretting and corrosion of the articulating

      2   surface prior to the day Wright provided its 51 O(k) submission to the FDA.

      3                166.   Wright knew the Device was failing at higher than expected rates from fretting and

      4   corrosion of the articulating surface prior to the date of its implantation in Plaintiff Saunders

      5   during the Index Surgery.

      6                167.   Wright knew the Device was failing at higher than expected rates due to fretting

      7 and corrosion prior to the date of Plaintiff Saunders's Revision Surgery, during which it was

      8 discovered that Plaintiff suffered from adverse tissue reaction to metal debris, metal ions and

      9 corrosion.

     10                168.   Prior to the Index Surgery, Wright did not warn patients, surgeons, customers, or its

     11   sales representatives/distributors that the Device was known to be failing from metal debris and

     12 corrosion at higher than expected rates.

     13                169.   On or about September 25, 2017, Plaintiff Saunders discovered the Device

     14   implanted in her left side failed due to adverse tissue reaction from metal debris, metal ions and

     15   corrosion as a result of one or more or a combination of the foregoing unreasonably dangerous

     16 conditions.

     17                170.   As a direct and proximate result of the failure of the Conserve® Total Hip Syste1_11,

     18   Plaintiff Saunders has sustained injuries and damages, including, but not limited to:

     19                       (a)    undergoing surgery to remove and replace the failed prosthesis;

     20                       (b)    past and future pain and anguish, both in mind and in body;

     21                       (c)    permanent diminishment of her ability to participate in and_ enjoy the affairs

     22            of life;

     23                       (d)    medical bills associated with the revision surgery and recovery therefrom;

     24                       (e)    future medical expenses;

     25                       (f)    loss of enjoyment of life;

     26                       (g)    loss of past and future earnings and earning capacity;

     27                       (h)    disfigurement; and

     28                       (i)    physical impairment.

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      1                       FEDERAL STATUTORY AND REGULATORY REQUIREMENTS

      2                171.    Pursuant to federal law, a medical device is deemed to be adulterated if, among

      3 other things, it fails to meet established performance standards, or if the methods, facilities or

      4 controls used for its manufacture, packing, storage or installation are not in conformity with

      5 federal requirements. 21 U.S.C. § 351.
                                              '·
      6                172.    Pursuant to federal law, a device is deemed to be misbranded if, among other

      7 things, its labeling is false or misleading in any particular, or if it is dangerous to health when used

      8 in the manner prescribed, recommended or suggested in the labeling thereof. 21 U.S.C. § 352.

      9                173.    Pursuant to federal law, manufacturers are required to comply with FDA regulation

     IO   of medical devices, including FDA requirements for records and reports, in order to prevent

     11   introduction of medical devices that are adulterated or misbranded, and to assure the safety and

     12   effectiveness of medical devices. In particular, manufacturers must keep records and make reports

     13   if any medical device may have caused or contributed to death or serious injury, or.if the device

     14 has malfunctioned in~ manner likely to cause or contribute to death or serious injury. Federal law

     15   also mandates that the FDA establish regulations requiring a manufacturer of a medical device to

     16   report promptly to FDA any correction or removal of a device undertaken to reduce a risk to

     17   health posed by the device, or to remedy a violation of federal law by which a device may present

     18 a risk to health. 21 U.S.C. § 360(i).

     19                174.    Pursuant to federal law, the Secretary of Health and Human Services may prescribe

     20   regulations requiring that the methods used in, and · the facilities and controls used for, the

     21   manufacture, pre-production design validation (including a process to assess. the performance of a

     22   device, but not including an evaluation of the safety or effectiveness of a device), packaging,

     23   storage and installation of a device conform to current good manufacturing practice, as prescribed

     24   in such regulations, to assure that the device will be safe and effective and otherwise in

     25   compliance with federal law.

     26                175.    The regulations requiring conformance to good manufacturing practices are set

     27   forth in 21 C.F.R. § 820, et seq. As explained in the Federal Register, because the Current Good

     28 Manufacturing Practice (CGMP) regulations must apply to a variety of medical devices, the

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      1 regulations do not prescribe the details for how a manufacturer must produce a device. Rather, the

      2 quality system regulations provide a framework of basic requirements for each manufacturer to

      3 use in establishing a quality system appropriate to the devices designed and manufactured and the

      4 manufacturing processes employed. Manufacturers must adopt current and effective methods and

      5 procedures for each device they design and manufacture to comply with and implement the basic

      6 requirements set forth in the quality system regulations.

      7                176.   Pursuant to 21 C.F.R. § 820.l(c), the failure to comply with any applicable

      8 provision in Part 820 renders a device adulterated under section 50l(h) of the Federal Drug &

      9   Cosmetic Act ("the Act"). 21 U.S.C. § 351.

     10            "177.      Pursuant to 21 C.F:R. § 820.5, each manufacturer shall establish and maintain a

     ll   quality system that is appropriate for the specific medical device designed or manufactured.

     12 "Quality system" means the organizational structure, responsibilities, procedures, processes and

     13   resources for implementing quality management. 21 C.F.R. § 820.3(v).

     14            178.       Pursuant to 21 C.F.R. § 820.22, each manufacturer shall establish procedures for

     15   quality audits and conduct such audits to assure that the quality system is in compliance with the

     16 established quality system requirements and to determine the effectiveness of the quality system.

     17                179.   Pursuant to 21 C.F.R. § 820.30(a), each manufacturer shall establish and maintain

     18 procedures to control the design of the device in order to ensure that specified design requirements

     19 are met.

     20                180.   Pursuant to 21 C.F.R. § 820.30(d), each manufacturer shall establish and maintain

     21   procedures for defining and documenting d_esign output in terms that allow an adequate evaluation

     22   of conformance to design input requirements.

     23                181.   Pursuant to 21 C.F.R. § 820.30(e), each manufacturer shall establish and maintain

     24   procedures to ensure that formal documented reviews of the design results are planned and

     25   conducted at appropriate stages of the device's design development.

     26                182.   Pursuant to 21 C.F.R. § 820.30(f), each manufacturer shall establish and maintain

     27   procedures for verifying the device design to confirm that the device design output meets the

     28   design input requirements.

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      1                183.   Pursuant to 21 C.F.R. § 820.30(g), each manufacturer shall establish and maintain

      2 procedures for validating the device design. Design validation shall be performed under defined

      3   operating conditions on initial production units, lots or batches, or their equivalents.      Design

      4   validations shall ensure that devices conform to defined user needs and intended uses and shall

      5   include testing of production units under actual or simulated use conditions.

      6                184.   Pursuant to 21 C.F.R. § 820.30(h), each manufacturer shall establish and maintain

      7 procedures to ensure that the device design is correctly translated into production specifications.

      8                185.   Pursuant to 21 C.F.R. § 820.30(i), each manufacturer shall establish and maintain

      9   procedures for the identification, documentation, validation or where appropriate verification,

     10   review and approval of design changes before their implementation.

     11                186.   Pursuant to 21 C.F.R. § 820.70(a), each manufacturer shall develop, conduct,

     12   control and monitor production processes to ensure that a device conforms to its specifications.

     13   Where deviations from device specifications could occur as a result of the manufacturing process,

     14 the manufacturer shall establish and maintain process control procedures that describe any process

     15   controls necessary to ensure conformance to specifications. Such process controls shall include:

     16                       (a)    documented instructions, standard operating procedures (SOPs) and

     17            methods that define and control the manner of production;

     18                       (b)    monitoring and control of process parameters and component and device

     19            characteristics during production;

     20                       (c)    compliance with specified reference standards or codes;

     21                       (d)    the approval of processes and process equipment; and

     22                       (e)    criteria for workmanship which shall be expressed in documented standards

     23            or by means of identified and approved representative samples.

     24                187.   Pursuant to 21 C.F.R. § 820.70(6), each manufacturer shall establish and maintain

     25   procedures for changes to a specification, method, process or procedure.

     26                188.   Pursuant to 21 C.F.R. § 820.70(c), each manufacturer shall establish and maintain

     27   procedures to adequately control environmental conditions that could reasonably be expected to

     28   have an adverse effect on product quality, including periodic inspection of environmental control

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      1 system(s) to verify that the system, including necessary equipment, is adequate and functioning

      2 properly.

      3            189.       Pursuant to 21 C.F.R. § 820.70(e), each manufacturer shall establish and maintain

      4 procedures to prevent contamination of equipment or product by substances that could reasonably

      5 be expected to have an adverse effect on produce quality.

      6            190.       Pursuant to 21 C.F .R. § 820. 70(g), each manufacturer shall ensure that all

      7 equipment used in the manufacturing process meets s·pecified requirement and is appropriately.

      8 designed, constructed, placed and installed to facilitate maintenance, adjustment, cleaning an use.

      9            191.       Pursuant to 21 C.F.R. § 820.70(h), each manufacturer shall establish and maintain

     10 procedures for the use and removal of manufacturing material which could reasonably be expected

     11   to have an adverse effect on product quality to ensure that it is removed or limited to an amount

     12 that does not adversely affect the device's quality.

     13            192.       Pursuant to 21 C.F.R. § 820.70(i), when computers or automated data processing

     14 systems are used as part of production or the quality system, the manufacturer shall validate

     15   computer software for its intended use according to an established protocol.

     16                193.   Pursuant to 21 C.F .R. § 820. 72, each manufacturer shall ensure that all inspection,

     17 measuring and test equipment, including mechanical, automated or electronic inspection and test

     18   equipment, is suitable for its intended purposes and is capable of producing valid results. Each

     19 manufacturer shall establish and maintain procedures to ensure that equipment is routinely

     20 calibrated, inspected, checked and maintained.

     21                194.   Pursuant to 21 C.F.R. § 820.75(a), where the results of a process cannot be fully

     22   verified by subsequent inspection and test, the process shall be validated with a high degree of

     23   assurance and approved according to established procedures.                "Process validation" means

     24   establishing by objective evidence that a process consistently produces a result or product meeting

     25   its predetermined specifications. See 21 C.F.R. § 820.3(z)(l ).

     26                195.   Pursuant to 21 C.F.R. § 820.75(b), each manufacturer shall establish and maintain

     27 procedures for monitoring and control of process parameters for validated processes to ensure that

     28 the specified requirements continue to be met. Each manufacturer shall ensure that validated

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      1 processes are performed by qualified individuals.

      2                 196.   Pursuant to 21 C.F.R. § 820.90, each manufacturer shall establish and maintain

      3 procedures to control product that does not conform to specified requirements.
      4                 197.   Pursuant to 21 C.F.R. § 820.100, each manufacturer shall establish and maintain

      5 procedures for implementing ·corrective and preventive action.              The procedures shall include

      6 requirements for:

      7                        (a)    analyzing processes, work operations, concessions, quality audit reports,

      8             quality records, service records, complaints, returned product, and other sources of quality

      9             data to identify existing and potential causes of nonconforming product or other quality

     10             problems;

     11                        (b)    investigating the cause of nonconformities relating to product, processes
     12             and the quality system;

     13                        (c)    identifying the action(s) needed to correct and prevent recurrence of

     14             nonconforming product and other quality problems;

     15                        (d)    verifying or validating the corrective and preventative action to ensure that

     16             such action is effective and does not adversely affect the finished device;

     17                        (e)    implementing and recording changes in methods and procedures needed to

     18             correct and prevent identified quality problems;

     19                        (t)    ensuring that information related to quality problems or nonconforming

     20             product is disseminated to those directly responsible for assuring the quality of such

     21             product or the prevention of such problems; and

     22                        (g)    submitting relevant information on identified quality problems, as well as

     23             corrective and preventative actions, for management review.

     24                 198.   Upon information and belief, Wright's Conserve® Total Hip System is adulterated

     25   pursuant to 21 U .S.C. § 351 because, among other things, it failed to meet established

     26   performance standards and/or the methods, facilities or controls used for its manufacture, packing,

     27   storage or installation are not in conformity with federal requirements. See 21 U.S.C. § 351.

     28             199.       Upon information and belief, Wright's Conserve® Total Hip System is misbranded

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      1 because, among other things, it is dangerous to health when used in the manner prescribed,

      2   recommended or suggested in the labeling thereof. See 21 U.S.C. § 352.

      3            200.   Upon information and belief, Wright's Conserve® Total Hip System is adulterated

      4 pursuant to 21 U.S.C. § 351 because Wright failed to establish and maintain CGMP for its

      5 Conserve® Total Hip System, including components, in accordance with 21 C.F .R. § 820, et seq.,

      6 as set forth above.

      7            201.   Upon information and belief, Wright failed to establish and maintain CGMP with

      8 respect to the quality audits, quality testing and process validation for its Conserve® Total Hip

      9 System, including its components.

     10            202.   As a result of Wright's failure to establish and maintain CGMP as set forth above,

     11   Wright's Conserve® Total Hip System was defective and failed, resulting in injuries to Plaintiff

     12   Saunders.

     13            203.   If Wright had complied with the federal requirements regarding CGMP, Wright's

     14 Medical Conserve® Total Hip System would have been manufactured and/or designed properly

     15   such that it would not have resulted in injuries to Plaintiff.

     16            204.   Plaintiff Saunders's injuries were both factually and proximately caused by the

     17 Defendant's defective Conserve® Total Hip System.

     18            205.   Plaintiffs injuries were both factually and proximately caused by the Defendant's

     19 unreasonably dangerous Conserve® Total Hip System.

     20            206.   Plaintiff Saunders further shows that she is entitled to recover for all noneconomic

     21   and compensatory damages allowed by law, including, but not limited to, pain and suffering for all

     22 pain and suffering that she has incurred as a result of the defective product, the follow-up surgery,

     23   rehabilitation, and constant pain that occurs as a result of the failure of the Device.

     24                                                LIABILITY

     25          COUNT 1 - NEGLIGENT DESIGN AND FAIL URE TO WARN OR INSTRUCT

     26                                    (AGAINST ALL DEFENDANTS)

     27            207.   Plaintiff incorporated by reference as if fully set forth herein the facts alleged in

     28    paragraphs 1-206 of this Complaint.

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                   208.   Wright owed a duty of reasonable care to the general public, including Plaintiff

      2    Janace Saunders, when it designed, manufactured, assembled, inspected, tested, marketed, placed

      3    into the stream of commerce, and sold the Conserve® Total Hip System, to protect users from an

      4    unreasonable risk of harm when using the Device for its intended purpose, in a reasonably

      5    foreseeable manner.

      6            209.   Wright breached this duty by designing, manufacturing, assembling, inspecting,

      7    testing, marketing, distributing and selling the Conserve® Total Hip System in a defective and

      8    unreasonably unsafe condition including, but not limited to, its foreseeably appreciated risk of

      9    harm from the device's propensity for fretting, corrosion and failure.      A reasonably prudent

     10    medical device manufacturer would not have acted in this manner.

     ll            210.   Likewise, Wright owed Plaintiff a duty of reasonable care to discover the defects

     12    and to inform and/or warn her or her implanting surgeon of the defects once they were

     13    discovered, and Defendant failed to warn of the dangers inherent in the reasonably foreseeable

     14    use of the Conserve® Total Hip System, further placing Plaintiff at risk for harm and injury.

     15            211.   Wright failed to exercise ordinary care in the design, formulation, manufacture,

     16    sale, testing, quality assurance, quality control, labeling, warning, marketing, promotions and

     17    distribution of the Conserve® Total Hip System. Wright knew or should have known that these

     18    products cause significant bodily harm and were not safe for use by consumers, and/or through

     19    failure to comply with federal requirements.

     20            212.   Wright, furthermore, in advertising, marketing, promoting, packaging and selling

     21    the Device negligently misrepresented material facts regarding its safety, efficacy and fitness for

     22    human use by claiming the Device was fit for its intended purpose when, in fact, it was not.

     23            213.   Wright, in advertising, marketing, promoting, packaging and selling the Device,

     24    negligently misrepresented material facts regarding its safety, efficacy and fitness for human use

     25    by claiming the Device had been adequately and reliably tested when, in fact, it had not.

     26            214.   Wright, in advertising, marketing, promoting, packaging and selling the Device,

     27    negligently misrepresented material facts regarding its safety, efficacy and fitness for human use

     28    by claiming the risk of serious adverse events and/or effects from the Device was comparable to

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      1    that of other hip replacements systems when, in fact, it was not.

      2            215.    Wright, in advertising, marketing, promoting, packaging and selling the Device,

      3    n'egligently misrepresented material facts regarding its safety, efficacy and fitness for human use

      4    by claiming the Device had not caused or contributed to serious adverse events and/or effects

      5    requiring the premature revision surgery to replace and/or repair the Device when, in fact, it had.

      6            216.    Wright knew or had reason to know that Plaintiff Saunders, as a member of the

      7    general public for whose use the Device was placed into interstate commerce, would be likely to

      8    use the Device in a manner described in this Complaint.

      9            217.    Wright knew or should have known of the dangers associated with the manner and

     l0    circumstances of Plaintiff Saunders's foreseeable use of the Device, which dangers would not be

     11    obvious to the general public.

     12            218.    Despite the fact that Wright knew or should have known that the Conserve® Total

     13    Hip System posed a serious risk of bodily harm to consumers, Wright continued to manufacture

     14    and market the Device for use by consumers and/or continued to fail to comply with federal

     15    requirements.

     16            219.    Wright knew or should have known that consumers such as Plaintiff Saunders

     17    would foreseeably suffer injury as a result of Wright's failure to exercise ordinary care as

     18    described above, including the failure to comply with federal requirements.

     19            220.    Wright's conduct, as described above, including, but not limited to, its failure to

     20    adequately test and warn as well as its continued marketing and distribution of the Conserve®

     21    Total Hip System when it knew or should have known of the serious health risks these Devices

     22    created and/or the failure to comply with federal requirements, was and is negligent.

     23            221.    As a direct and proximate result of Wright's negligence, including negligent

     24    testing, failure to warn and misrepresentations, Plaintiff Saunders suffered serious physical

     25    injury, harm, damages, and economic loss and will continue to suffer such harm, damages and

     26    economic loss in the future.

     27            222.    As a direct and proximate result of Wright's negligence, Plaintiff Saunders has

     28    suffered .and will continue to suffer injuries, damages and losses, and is entitled to compensatory

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      1    damages in an amount to be determined by the trier of fact.

      2            223.   Wright was negligent in the particulars set forth in this Complaint, and such

      3    negligence was a direct and proximate cause of the incident and injuries set forth herein.

      4                COUNT 2 - STRICT PRODUCTS LIABILITY: DEFECTIVE DESIGN

      5                                   (AGAINST ALL DEFENDANTS)

      6            224.   Plaintiff incorpeirates by reference as if fully set forth herein the facts alleged in

      7 paragraphs 1-206 of this Complaint.

      8            225.   Plaintiff was damaged by the defective Conserve® Total Hip System.

      9            226.   Wright was engaged in the business of manufacturing, selling and distributing the

     10 Conserve® Total Hip System.

     11            227.   The Wright Conserve® Total Hip System used in Plaintiff Saunders's hip

     12 replacement surgery was supplied in a defective condition in its design, such that it would generate

     13   metal debris, metal ion cast off and corrosion at the articulating surface, rendering it unreasonably

     14 dangerous.

     15            228.   Wright had a duty to place into the stream of commerce, manufacture, distribute,

     16 market, promote and sell the Conserve® Total Hip System so that it was neither defective nor

     17 unreasonably dangerous when put to the use for which it was designed, manufactured, distributed,

     18   marketed and sold.

     19            229.   On and prior to January 2009, Wright was engaged in the business of designing,

     20 manufacturing, marketing, distributing and selling orthopedic hip implants and did design;

     21   manufacture, distribute, market and sell the Device.

     22            230.   Wright did in fact manufacture, sell, distribute, supply and/or promote the Device

     23   to Plaintiff Saunders and her implanting physician. Wright expected the Device it was selling,
                               i __

     24   distributing, supplying, manufacturing and/or promoting to reach, and which did in fact reach,

     25   implanting physicians and consumers in the State of California, including Plaintiff Saunders and

     26 her implanting physician, without substantial change in the condition.

     27            231.   At the time the Device left the possession of Wright and the time the Device

     28   entered the stream of commerce, it was in an unreasonably dangerous or defective condition.

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      1 These defects include, but are not limited to, the following:

      2                     (a)    the Device was not reasonably safe as intended to be used;

      3                     (b)    the Device had an inadequate design for the purpose of hip replacement;

      4                     (c)    the Device contained unreasonably dangerous design defects, including an

      5            inherently unstable and defective design, to include the use of cobalt and chromium metal

      6            alloys (i.e. a CoCr modular Head and CoCr acetabular cup) as the articulating surface,

      7            which resulted in an unreasonably high probability of early failure;

      8                     (d)    the Device's unstable and defective design resulted m a hip prosthesis

      9            which had risks which exceeded the benefits of the medical device;

     10                     (e)    the Device was not appropriately or adequately tested · before its

     11            distribution; and

     12                     (f)    the Device has an unreasonably high propensity for metal debris and

     13            fretting corrosion under normal and expected use of the Device.

     14            232.     At the time of Defendant's initial design, manufacture, marketing and sale of the

     15 Device, a safer, feasible, alternative safer design for the Device was known and available to

     16 Wright, including, but not limited to, a titanium shell with a polyethylene liner acetabular cup

     17 design.

     18            233.     At the time of and subsequent to Wright's initial design, manufacture, marketing

     19 and sale of the Device, including prior to the time of Plaintiff Saunders' s initial hip implant

     20   surgery, Wright had the ability to eliminate the unsafe character of the Device without impairing

     21   its usefulness.

     22            234.     Wright's Conserve® Total Hip System Devices, were, therefore, defective in design

     23   or formulation in that, when they left, Wright's hands, the foreseeable risk of harm from the

     24 product exceeded or outweighed the benefit or utility of the Device's particular design or

     25   formulation, and/or it was more dangerous than an ordinary consumer would expect, and/or it

     26 failed to comply with federal requirements for these medical devices.

     27            235.     The foreseeable risks associated with the design or formulation of the Wright

     28   Conserve® Total Hip System devices include, but are not limited to, the fact that the design or

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      1 formulation of the Conserve® Total Hip System Devices is more dangerous than a reasonably
      2   prudent consumer would expect when used in an intended or reasonably foreseeable manner,

      3   and/or it failed to comply with federal. requirements.

      4            236.   As a direct and proximate result of Plaintiff Saunders's use of Wright's Conserve®

      5   Total Hip System Device, as manufactured, designed, sold, supplied, marketed and introduced into

      6   the stream of commerce by Wright and/or its failure to comply with federal requirements, Plaintiff

      7   Saunders has suffered serious physical injury, harm, damages and economic loss and will continue

      8   to suffer such harm, damages and economic loss in the future.

      9            237.   As a direct and proximate result of Wright's defective product and tortious conduct

     10   as set forth herein, Plaintiff Saunders has suffered and will continue to suffer injuries, damages

     11   and losses, and is entitled to compensatory damages in an amount to be determined by the trier of

     12   fact.

     13            238.   The Conserve® Total Hip System's defective condition proximately caused

     14 Plaintiff Saunders's damages.

     15           COUNT 3 - STRICT PRODUCTS LIABILITY: MANUFACTURING DEFECT

     16                                   (AGAINST ALL DEFENDANTS)

     17            239.   Plaintiff incorporates by reference as if fully set forth herein the facts alleged in

     18   paragraphs 1-206 of this Complaint.

     19            240.   Plaintiff Saunders was damaged by the defective Conserve® Total Hip System.

     20            241.   Wright was engaged in the business of manufacturing, selling and distributing the

     21   Conserve® Total Hip System.

     22            242.   The Conserve® Total Hip System used in Plaintiff Saunders's hip replacement

     23   surgery was supplied in a defective condition in its manufacture, such that it would generate metal

     24   debris, fretting and corrosion at the head cup interface, rendering it unreasonably dangerous.

     25            243.   The Conserve® Total Hip System's defective condition proximately caused

     26   Plaintiffs damages.

     27                COUNT 4 - STRICT PRODUCTS LIABILITY - FAILURE TO WARN

     28                                   (AGAINST ALL DEFENDANTS)

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      1            244.   Plaintiff incorporates by reference as if fully set forth herein the facts alleged in

      2 paragraphs 1-206 of this Complaint.
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      3            245.   Plaintiff Saunders was damaged by the defective Conserve® Total Hip System.

      4            246.   Wright was engaged in the business of manufacturing, selling and distributing the

      5   Conserve® Total Hip System.

      6            247.   At all times relevant herein, Wright was engaged in the design, development,

      7 testing, manufacturing, marketing and sale of the Conserve® Total Hip System devices.

      8            248.   Wright designed, manufactured, assembled and sold the Conserve® Total Hip

      9   System devices to medical professionals and patients knowing that they would then be implanted

     10   in patients in need of hip prosthesis.

     11            249.   Wright distributed and sold the Conserve® Total Hip System devices in a condition

     12 such that when they left its place of manufacture, in their original form of manufacture, they

     13   included the defects described herein.

     14            250.   The Conserve® Total Hip System devices were expected to and did reach Plaintiff

     15   Saunders and her implanting surgeon, Dr. Pace, without substantial change or adjustment in their

     16 condition as manufactured and sold by Wright.

     17            251.   Defendant's Conserve® Total Hip System devices designed, developed, tested,

     18   manufactured, marketed and sold or otherwise placed into the stream of commerce by Wright

     19 were in a dangerous and defective condition and posed a threat to any user or consumer of the

     20 Conserve® Total Hip System devices.

     21            252.   At all times relevant herein, Plaintiff Saunders was a person whom Wright should

     22   have considered to be subject to the harm caused by the defective nature of the Conserve® Total
                                                                                              j
     23   Hip System devices.

     24            253.   Wright's Devices were implanted and used in the manner for which they were

     25   intended.

     26            254.   This use has resulted in severe physical and emotional and other injuries to

     27   Plaintiff.

     28            255.   Wright knew or should have known through testing, adverse event reporting or

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      1 otherwise that its Conserve® Total Hip System devices created a high risk of bodily injury and

      2   serious harm.

      3            256.      Wright had a duty to warn its sales representatives/distributors, implanting

      4   surgeons such as Dr. Pace and patients such as Plaintiff Saunders, and Wright breached its duty in

      5   failing to provide adequate and timely warnings or instructions regarding its Conserve® Total Hip

      6   System devices and their known defects.

      7            257.      Wright, furthermore, breached its duty to warn at pre-surgery and/or post-surgery

      8   by     (a)   failing     to   adequately   communicate     the   warning   to   Defendants'     sales

      9   representatives/distributors and/or to the ultimate users, i.e., Plaintiff Saunders and/or her

     10   implanting physician; and/or (b) by failing to provide an adequate warning of the Device's

     11   potential risks.

     12            25 8.     Adequate efforts to communicate a warning to the ultimate users were not made by

     13   Wright (or its sales representatives/distributors) and, to the extent a warning was communicated

     14   by Wright, the warning was inadequate.

     15            259.      The warnings (pre-surgery and/or post-surgery) to Plaintiff and her implanting

     16 physician about the dangers the Device posed to consumers were inadequate. Examples of the

     17   lack and/or inadequacy of Wright's warnings include, but are not limited to, one or more of the

     18 following particulars:

     19                      (a)    the Device contained warnings insufficient to alert Plaintiff Saunders and

     20            Plaintiffs physicians as to the unreasonably high failure rate and propensity for generating

     21            metal wear debris, metal ion cast off and corrosion, associated with the Device, subjecting

     22            Plaintiff to risks which exceeded the benefits of the Device;

     23                      (b)    the Device contained misleading warnings emphasizing the efficacy of the

     24            Device while downplaying the risks associated with it, thereby making use of the Device

     25            more dangerous than the ordinary consumer would expect;

     26                      (c)    the Device contained insufficient and/or incorrect warnmgs to alert

     27            consumers, including Plaintiff Saunders, through its prescribing physicians regarding the

     28            risk, scope, propensity, frequency, duration and severity of the adverse events associated

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                   with the Device;

      2                   (d)    ·the Device's warnings and instructions did not disclose that it was

      3            inadequately tested;

      4                   (e)     the Device's warnings and instructions failed to convey adequate post-

      5            marketing warnings regarding the risk, severity, propensity, frequency, scope and/or

      6            duration of the dangers posed by the Device; and

      7                   (f)     the Device's instructions were insufficient to alert physicians and

      8            consumers to the dangers it posed and to give them the information necessary to avoid or

      9            mitigate those dangers.

     10            260.   Plaintiff used the Device for its intended purpose, i.e., hip replacement.

     11            261.   Plaintiff could not have discovered any defect in the Device through the exercise of

     12    due care.

     13            262.   _Wright, as designer, developer, manufacturer, marketer and distributor of medical

     14    devices is held to the level of knowledge of an expert in the field.

     15            263.   Plaintiff Saunders and her implanting physician did not have substantially the same

     16    knowledge about the Device as Wright who was the designer, manufacturer, and distributor of the

     17    Device.

     18            264.   Wright reasonably should have known if its Device was unsuited for active

     19    individuals such as Plaintiff Saunders.

     20            265.   As a direct and proximate result of Wright's failure to adequately communicate a

     21    warning and/or failure to provide an adequate warning and other wrongful conduct as set forth

     22    herein, Plaintiff has sustained and will continue to sustain severe physical injuries, severe

     23    emotional distress, mental anguish, economic losses and other damages, as set forth herein.

     24            266.   As a direct result of Wright's failure to warn and/or inadequate warning and

     25    Defendant's other tortious conduct, Plaintiff Saunders has suffered serious physical injury, harm,

     26    damages and economic loss and will continue to suffer such harm, damages and economic loss in

     27    the· future.

     28            267.   As a direct and proximate result of Wright's failure to warn and/or inadequate

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      1    warning and its other tortious conduct, as set forth herein, Plaintiff Saunders has suffered and will

      2    continue to suffer injuries, damages and losses, and is entitled to compensatory damages in an

      3    amount to be determined by the trier of fact.

      4                            COUNT 5 -NEGLIGENT MISREPRESENTATION

      5                                        (AGAINST ALL DEFENDANTS)
      6            268.   Plaintiff incorporates by reference as if fully set forth herein the facts alleged in

      7 paragraphs 1.:.206 of this Complaint.

      8         · 269.    Wright had a duty to accurately and truthfully represent to the medical community,

      9 Plaintiff Saunders, and the public that the Conserve® Total Hip System had not been adequately

     10 tested nor found to be safe and effective for the treatment of patients requiring a hip replacement.

     11   Instead, Wright made representations about the Device that it, at a minimum, should have known

     12 to be false.

     13            270.   Wright negligently misrepresented to the medical community, implanting

     14 orthopedic surgeon Dr. Pace, Plaintiff Saunders, and the public that the Conserve® Total Hip

     15   System presented no risk or a low risk of unreasonable and dangerous adverse side effects.

     16            271.   Had Wright accurately and truthfully represented to the medical community, Dr.

     17 Pace, Plaintiff Saunders, and the public the material facts that it knew or should have known

     18 regarding the risks of the Conserve® Total Hip System, Plaintiff and/or Plaintiff Saunders's

     19 healthcare provider(s) would not have utilized Wright's Conserve® Total Hip System.

     20            272.   As a direct and proximate result of Wright's negligent misrepresentations, Plaintiff

     21   has experienced significant mental and physical pain and suffering, has sustained permanent

     22   injury, has undergone medical treatment and will likely undergo further medical treatment and

     23   procedures, has suffered financial or economic loss, including, but not limited to, obligations for

     24 medical services and expenses, and other damages.

     25                                  COUNT6-FRAUDBYCONCEALMENT

     26                                        (AGAINST ALL DEFENDANTS)

     27            273.   Plaintiff incorporates by reference as if fully set forth herein the facts alleged in

     28   aragraphs 1-206 of this Complaint.

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                                               COMPLAINT FOR DAMAGES
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                   274.    Wright had a duty to accurately and truthfully represent to the medical community,

      2   laintiff Janace Saunders, and the public that Wright Medical Conserve® Total Hip System, had not

      3   een adequately tested and found to be safe and effective for the treatment of patients requiring a

      4   ip replacement. Instead, Wright knew, but deliberately failed to communicate this to Plaintiff or

      5   lain tiffs surgeon.

      6            275.    Wright· had a duty to inform, but fraudulently concealed from the medical

      7   ommunity, implanting orthopedic surgeon Dr. Pace, Plaintiff, and the public that the Wright

      8    edical Conserve® Total Hip System had an unreasonable and dangerous risk of generating metal

      9   ebris and metal ions causing bodily injury.

     10            276.    Wright knew of the risk of metal debris and corrosion and resulting bodily injury

     11   resent in the device implanted in Plaintiff, while neither Plaintiff nor Plaintiffs implanting

     12 urgeon had this information. Neither Plaintiff nor implanting surgeon could have discovered this

     13 nformation through reasonable diligence.

     14            277.    Wright had a duty to communicate the increased risk and known failures associated

     15    ith the Device implanted in Plaintiff to Plaintiff and Plaintiffs surgeon.

     16            278.    Plaintiff and Plaintiffs surgeon justifiably relied upon Wright to communicate

     17     own risks and failures in both the decision to implant the device and follow up treatment after

     18 ndex surgery.

     19            279.    Had Wright accurately and truthfully represented to the medical community, Dr.

     20   ace, Plaintiff, and the public the material facts that it knew regarding the risks of the Conserve®

     21   otal Hip System, Plaintiff and/or Plaintiffs heal.thcare provider(s) would not have utilized

     22    right's Conserve® Total Hip System.

     23            280.    Had Wright not fraudulently concealed the increased risk of metal debris, metal

     24 ons and corrosion, the dangers from corrosion and metal debris, the known failures of the device

     25 rom Plaintiff or Plaintiffs surgeon, Plaintiffs injuries would have been avoided or limited.

     26            28 I.   As a direct and proximate result of Wright's fraudulent concealments, Plaintiff has

     27   xperienced significant mental and physical pain and suffering, has sustained permanent injury, has

     28   ndergone medical treatment and will likely undergo further medical treatment and procedures, has

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      1 uffered financial or economic loss, including, but not limited to, obligations for medical services

      2   nd expenses, and other damages.

      3                           COUNT 7 - FRAUDULENT MISREPRESENTATION

      4                                       (AGAINST ALL DEFENDANTS)

      5            282.   Plaintiff incorporates by reference as if folly set forth herein the facts alleged in

      6 paragraphs 1-206 of this Complaint.

      7
                   283.   Wright made false representations of material fact to Plaintiff and/or her healthcare
      8
          providers as to the safety and efficacy of its Conserve® Total Hip System before it was selected
      9
          and utilized in Plaintiffs hip replacement surgery.
     10
                   284.   Instead of disclosing the heightened risks of corrosion, failure, and permanent
     11
          injury, Wright represented via printed literature and statements to surgeons:
     12
                          a) that there was no indication of an increased risk of adverse events due to metal-
     13
                             on-metal articulation-generated fretting and corrosion,
     14                   b) that cobalt and chromium metal ions had been tested clinically;
     15
                          c) that the clinical testing had shown that exposure to cobalt and chromium metal
     16                      ions had proved them to be safe;
     17
                          d) that cobalt-chromium articulating components resulted in less wear than metal-
     18
                             on-polyethylene and would last longer; and
     19                   e) that the Conserve® Total Hip System, including its component parts, were safe
     20                      and effective, and were safer and more effective than other treatments for hip
     21
                             replacements.
     22
                   285.   Wright knew that the above representations alleged in paragraph 283 were false,
     23   yet willfully, wantonly, and recklessly disregarded the inaccuracies in its representations.
     24
                   286.   Wright made these false representations with the intent of defrauding and deceiving
     25
          the medical community (i~cluding implanting surgeon Dr. Pace, Plaintiff, and the public), and to
     26
          induce the medical community, Plaintiffs implanting surgeon, Plaintiff and the public to utilize its
     27   Conserve® Total Hip System. Doing so constituted a callous, reckless, willful, and depraved
     28   indifference to the health, safety, and welfare of Plaintiff and the public.

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                   287.   Plaintiff and her implanting orthopedic surgeon Dr. Pace reasonably and justifiably

      2   relied upon Wright's false representations of material fact in deciding t'a utilize the Conserve®

      3 Total Hip System.

      4            288.   Had Plaintiff or her healthcare providers known the true facts about the dangers and

      5   health risks of the Wright Conserve® Total Hip System, they would not have utilized the Device.

      6            289.   As a direct and proximate result of Wright's fraudulent conduct, Plaintiff has

      7 experienced significant mental and physical pain and suffering, has sustained permanent injury,

      8 has undergone medical treatment and will likely undergo further medical treatment and

      9 procedures, has suffered financial or economic loss, including, but not limited to, obligations for

     10   medical services and expenses, and other damages.

     11                                      COUNT 8 - PUNITIVE DAMAGES

     12                                       (AGAINST ALL DEFENDANTS)

     13            290.   Plaintiff incorporates by reference as if fully set forth herein the facts alleged in

     14 paragraphs 1-20 of this Complaint.

     15            291.   Wright knew or should have known, in light of the surrounding circumstances, that

     16   its conduct would naturally and probably result in injury or damage and continued the conduct

     17   with malice or in reckless disregard of the consequences, from which malice may be inferred.

     18   Accordingly, Plaintiff is entitled to an award of punitive damages.

     19                                        PRAYER FOR RELIEF

     20            WHEREFORE, Plaintiff prays for judgment and an award of damages against Wright, as

     21   follows:

     22            (a)    for special damages, to include past and future medical and incidental expenses,

     23   according to proof;

     24            (b)    for past and future loss of earnings and/or earning capacity, according to proof;

     25            (c)    · for past and future general damages, to include pain and suffering, emotional

     26   distress and mental anguish, according to proof;

     27            (d)    for exemplary and punitive damages in an amount to be determined at trial;

     28            (e)    for pre-judgment and post-judgment interest;

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      1            (f)   for the costs of this action, including reasonable attorneys' fees;

      2            (g)   granting any and all such other and further legal and equitable relief as the Court

      3 deems necessary, just and proper; and

      4            (i)   an amount sought of Five Million Dollars ($5,000,000.00).

      5

      6 Dated: September 24, 2019

      7

      8

      9                                                 Ray~~d P. Boucher (SBN 115364)
                                                        ray(f!]eoucher. la
     10                                                 BOUCHERLLP
                                                        21600 Oxnard Street, Suite 600
     11                                                 Woodland Hills, CA 91367
                                                        Tel: 818-340-5400
     12                                                 Fax: 818-340-5401

     13                                                 Caroline G. McGlamry (SBN 308660)
                                                        efile@pmkm.com
     14                                                 POPE MCGLAMRY P.C.
                                                        3391 Peachtree Road, NE, Suite 300
     15                                                 Atlanta, GA 30326
                                                        Tel: (404) 523-7706
     16                                                 Fax: (404) 524-1648

     17                                                 Attorneys for Plaintiff

     18

     19

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                                              COMPLAINT FOR DAMAGES
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                                                     JURY DEMAND
      2

      3            Plaintiff hereby demands a trial by jury as to all claims, counts, and issues so triable in this

      4 action.

      5

      6 Dated: September 24, 2019

      7

      8

      9                                                   R mond P. oucher (SBN 115364)
                                                           ay@boucher.la
     10                                                   BOUCHERLLP
                                                          21600 Oxnard Street, Suite 600
     11                                                   Woodland Hills, CA 91367
                                                          Tel: 818-340-5400
     12                                                   Fax: 818-340-5401

     13                                                   Caroline G. McG!amry (SBN 308660)
                                                          efile@pmkm.com
     14                                                   POPE MCGLAMRY P.C.
                                                          3391 Peachtree Road, NE, Suite 300
     15                                                   Atlanta, GA 30326
                                                          Tel: (404) 523-7706
     16                                                   Fax: (404) 524-1648

     17                                                   Attorneys for Plaintiff

     18

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             EXHIBIT B
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                                                                                                                                                      SUM-100
                                           SUMMONS                                                          ELECTRONICALLY' FILED
                                    (CITACION JUDICIAL)                                                        Superkir Court of California,
                                                                                                                  County cf San Diego
NOTICE TO DEFENDANT:
(A VISO AL DEMANDADO):                                                                                         0912412019 at 04:01 :08 PM
WRIGHT rvt:EDICAL TECHNOLOGY, INC., A Corporation; and                                                        Clerk of the Superior Court
 and DOES 1-100, Inclusive,                                                                               By tvichael Clemens, Deputy Clerk
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
 TAMERA D. SAUNDERS



 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on 117e plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court IQ hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do noi file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.Jawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 JAVISOI Lo han demandado, Si no responde dentro de 30 dlas, la corte puede decidir en su contra sin escuchar su versi6n. Lea la infonnaci6n a
 contlnuaci6n.                                          ·
    Tiene 30 DIAS DE CALENDAR/0 despues de que le entreguen esta citaci6n y pape/es Jega/es para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
 en fonnato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formu/ario que usted pueda usar para su respuesta.
 Puede encontrar estos fonnularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretan'o de la corte
 que le de un fonnu/ario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podra quitar su sue/do, dinero y bienes sin mas advertencia.
   Hay otros requisitos legates. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede /Jamar a un servicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que.cumpla con Jos requisitos para obtener servicios Jega/es gratuitos de un
 programa de servicios Jegales sin fines de Jucro. Puede encontrar estos grupos sin fines de Jucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de.las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
 co/egio de abogados locales. AV/SO: Por fey, la corte tiene derecho a reclamar las cuotas y Jos costos exentos por imponer un gravamen sobre
 cualquier recuperaci6n de $1 0, 000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la carte pueda desechar el caso.
The name and add;ess of the court is:
(E/nombre y direcci6n de la carte es):                                                        37-2019-00050648- CU-P L-N C
 San Diego Superior Court• North County Division
 325 South Melrose Drive
 Vista, CA 92081
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de te/efono def abogado def demandante, o def demandante que no tiene abogado, es):
 Raymond P. Boucher (CSB # 115364)                                                                          Tel: (818) 340-5400
 BOUCHER LLP, 21600 Oxnard Street, Suite 600, Woodland Hills, CA 91367                                      fax: (818) 340-5401
DA TE:        ogl2ol20 1g                                                      Clerk, by .                              . ./-:::'             _        , Deputy
(Fecha)                                                                        (Secretano) _ _            /'???, ~                                      (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-01 o; ,             M. Clemens
(Para prueba de entrega de esta citati6n use el formutario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
                                  1.       D
                                          as an individual defendant.
                                  2.       D
                                          as the person sued under the fictitious name of (specify):


                                      3.   ~     on behalf of (specify):   w(19hr MtdJ C4f uchml01) ;JYIC.
                                           under:   D     CCP 416.10 (corporation)                         D        CCP 416.60 (minor)
                                                    D     CCP 416.20 (defunct corporation)                 D        CCP 416.70 (conservatee)
                                                    CJ    CCP 416.40 (association or partnership)          CJ       CCP 416.90 (authorized person)
                                                    D     other (specify):
                                      4.   D     by p-ersonal delivery on (date):
                                                                                                                                                           Pa e 1 al 1
 Farm Adapted far Mandatory Use                                        SUMMONS                                                  <;ode ofCi·lil Procedure§§ 412,20, 465
   Judicial Cauncii of California                                                                                                                  www.caur1/nfo.ca.gov
   SUM-100 [Rev, July 1, 2009)




                                                                                                                                                                          ;;;.
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             EXHIBIT C
         Case
          ....., 3:19-cv-02112-AJB-KSC Document 1-2 Filed 11/04/19 PageID.58 Page 50 of 51
.:-~.,   '




         2TTORNEY OR PARTY WITHOUT AHORNEY (Name, State Bar number, and address):
                                                                                                                                                                                CM 010-
                                                                                                                               ELECTRONICALLY FILED
              Raymond P. Boucher (CSB                   # 115364)                                                                Superior Court of California,
              BOUCHERLLP                                                                                                            County of San Diego
              21600      Oxnard Street, Suite   600,          Woodland Hills, CA          91367                                  09124/2019 at 04:01 :08 PM
                    TELEPHONENO.     ~818) 340-5400                          FAX NO.   (818) 340-540)
                              laintiff Tamera D. Saunders
             ATTORNEY FOR /NameJ.·                                                                                              Clerk of the Superior Court
         SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO                                                                   By hilcha.el Clemens.Deputy Clerk
             STREET ADDRESS: 325 South Melrose Drive
                 MAILING ADDRESS:
                CITY AND ZIP CODE:
                                       San Diego, CA         92081
                     BRANCH NAME      North County Division
              CASE NAME:
                                  SAUNDERS v. WRIGHT MEDICAL TECHNOLOGY, INC.

                CIVIL CASE COVER SHEET                                          Complex Case Designation
         [X]        Unlimited               D     Limited
                                                                                                                             37-2019-00050648-C U-P L-N C
                    (Amount                       (Amount                  D        Counter        D      Joinder
                    demanded                      demanded is
                    exceeds $25,000)
                                                         Filed with first appearance by defendant
                                                  $25,000 or less)
                                                              (Cal. Rules of Court, rule 3.402)
                                                                                                                             Judge Eari H. rvtlas 111
                                        Items 1-6 below must be completed (see mstruct10ns on page 2).
         1. Check one box below for the case type that best describes this case:
               Auto Tort                                                 Contract                                     Provisionally Complex Civil Litigation
               D      Auto (22)                                          D     Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
               D      Uninsured motorist (46)                            D     Rule 3.740 collections (09)            D     Antitrust/Trade regulation (03)
               Other Pl/PD/WO (Personal Injury/Property                  D     Other collections (09)                 D     Construction defect (10)
               Damage/Wrongful Death) Tort                               D     Insurance coverage (18)                D     Mass tort (40)
               D      Asbestos (04)                                      D     Other contract (37)                    D     Securities litigation (28)
               [X]    Product liability (24)                             Real Property                                D     EnvironmentaifToxic tort (30)
               D        Medical malpractice (45)                         D      Eminent domain/Inverse                D     Insurance coverage claims arising from the
               D        Other Pl/PD/WO (23)                                     condemnation (14)                           above listed provisionally complex case
               Non-Pl/PD/WO (Other) Tort                                 D      Wrongful eviction (33)                      types (41)
               D        Business tort/unfair business practice (07)      D
                                                                         Other real property (26)                     Enforcement of Judgment
               D        Civil rights (08)                           Unlawful Detainer                                 D     Enforcement of judgment (20)
               D        Defamation (13)                                  DCommercial (31)                             Miscellaneous Civil Complaint
               D        Fraud (16)                                       DResidential (32)                            D     RIC0(27)
               D      Intellectual property (19)                         D      Drugs (38)                            D     Other complaint (not specified above) (42)
               D      Professional negligence (25)                       Judicial Review                              Miscellaneous Civil Petition
               D      Other non-Pl/PD/WO tort (35)                       D      Asset forfeiture (05)                 D     Partnership and corporate governance (21)
               Employment                                                D      Petition re: arbitration award (11)
                                                                                                                      D     Other petition (not specified above) (43)
               D      Wrongful termination (36)                          D      Writ of mandate (02)
               D      Other employment (15)                              D      Other judicial review (39)
         2. This case ~ is                is notLJ  complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
            factors requiring exceptional judicial management:
               a.   D      Large number of separately represented parties                     d.   D   Large number of witnesses
                b. [X] Extensive motion practice raising difficult or novel                   e.   D   Coordination with related actions pending in one or more courts
                           issues that will be time-consuming to resolve                               in other counties, slates, or countries, or in a federal court
               c.   [K]    Substantial amount of documentary evidence                          D
                                                                                              f.       Substantial postjudgment judicial supervision

         3.    Remedies sought (check all that apply): a.[Xl monetary                      b. D nonmonetary; declaratory or injunctive relief                      c.   [X] punitive
         4.    Number of causes of action (specify): Seven
         5. This case          D
                              is         is not 00
                                                 a class action suit.
         6. If there are any known related cases, file and serve a notice of related case. (You may use form                          CM-9J5,J
         Date: September             24, 2019                                                                                               L---
                                            (TYPE OR PRINT NAME)
                                                                                           NOTICE
              • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                in sanctions.                                                           ,
              • File this cover sheet in addition to any cover sheet required by local court rule.
              • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                other parties to the action or proceeding.
              • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                     ·                                                                                                           J$a e 1 of 2
         Form Adopted for Mandatory Use                                                                                         Cal. Rules of Court, rules 2.30, 3.220, 3.4D0-3.403, 3.740;
           Judicial Council of California
                                                                         CIVIL CASE COVER SHEET                                         Cal. Standards of Judicial Administration, Sid. 3.10
            CM-01 o [Rev. July 1, 2007]                                                                                                                                 www.courlinfo.ca.gov
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                                                                                                                                        CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, seivices, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3. 740 collections case on this form means that it will be exempt from the general
time-for-seivice requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-oesignation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property             Breach of ContracVWarranty (06)                 Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                         Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                        Contract (not unlawful detainer              Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      ContracVWarranty Breach-Seller                  Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of ContracVWarranty                    case type listed above) (41)
                                                    Collections (e.g., money owed, open              Enforcement of Judgment
Tort
     Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/
                Wrongful Death                                Case                                           Confession of Judgment (non-
                                                     Insurance Coverage (not provisionally                         domestic relations)
     Product Liability (not asbestos or
          toxic/environmental) (24)                      complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice--                          Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entry of
                                                         Contractual Fraud                                       Judgment on Unpaid Taxes
          Other Professional Health Care
                Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
                                                 Real Property                                                     Case
     Other Pl/PD/WO (23)
                                                     Eminent Domain/Inverse                          Miscellaneous Civil Complaint
          Premises Liability (e.g., slip
                                                         Condemnation (14)                               RICO (27)
                and fall)
          Intentional Bodily Injury/PD/WO            Wrongful Ev'iction (33)                            Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)
                                                                                                             Declaratory Relief Only
          Intentional Infliction of                      Writ of Possession of Real Property                 Injunctive Relief Only (non-
                Emotional Distress                        Mortgage Fore closure                                    harassmenf)
          Negligent Infliction of                        Quiet Title                                         Mechanics Lien
                Emotional Distress                       Other Real Property (not eminent
                                                                                                             Other Commercial Complaint
          Other Pl/PD/WO                                 domain, landlord/tenant, or
                                                                                                                   Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer                                                (non-tort/non-complex)
        Practice (07)                                Commercial (31)
                                                                                                     Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                above) (43)
           (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                          Abuse
         Legal Malpractice                                Writ-Administrative Mandamus                        Election Contest
         Other Professional Malpractice                   Writ-Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                         Case Matter                                     Petition for Relief From Late
      Other Non-Pl/PD/WO Tort (35)                        Writ-Other Limited Court Case                            Claim
Employment                                                   Review                                          Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal-Labor
                                                             Commissioner Appeals
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                                                     CIVIL CASE COVER SHEET
